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                            United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


    DARELTECH, LLC                                §
                                                  §
    v.                                            §   Civil Action No. 4:18cv702
                                                  §   Judge Mazzant
    SAMSUNG ELECTRONICS CO., LTD.,                §
    ET AL.                                        §

                                             ORDER

.         Due to the Court’s trial docket, the Claim Construction hearing of this case is reset

    to Tuesday, January 28, 2020, at 1:30 p.m. at the Paul Brown United States Courthouse, 101

    E. Pecan Street, Sherman, Texas 75090.

          IT IS SO ORDERED.
          SIGNED this 17th day of December, 2019.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE
